     Case 5:20-cv-01836-JDE Document 21 Filed 11/23/21 Page 1 of 1 Page ID #:906




 1
 2                                                             J S -6
 3
 4
 5
 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                   EASTERN DIVISION
11   MICHELLE STRATTON,                     ) Case No. 5:20-cv-01836-JDE
                                            )
12                                          )
                        Plaintiff,          ) JUDGMENT
13                                          )
                                            )
                   v.                       )
14                                          )
     KILOLO KIJAKAZI, Acting                )
15                                          )
     Commissioner of Social Security,       )
16                                          )
                                            )
17                      Defendant.          )
18
19         In accordance with the Memorandum Opinion and Order filed herewith,
20         IT IS HEREBY ADJUDGED that the decision of the Commissioner of
21   Social Security is reversed and this matter is remanded for further
22   administrative proceedings consistent with the Court’s Order.
23
24   Dated: November 23, 2021

25                                              ______________________________
26                                              JOHN D. EARLY
                                                United States Magistrate Judge
27
28
